            Case 2:11-cr-00365-RSL             Document 78    Filed 12/16/11      Page 1 of 2




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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                Plaintiff,             Case No. CR11-365-RSL

10          v.                                           DETENTION ORDER

11 ROBSON DASILVA,

12                                Defendant.

13 Offenses charged:

14          Conspiracy to Smuggle, Harbor & Transport Illegal Aliens and Transporting Illegal

15 Aliens within the United States.

16 Date of Detention Hearing: December 16, 2011.

17          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

18 and based upon the factual findings and statement of reasons for detention hereafter set forth,

19 finds that no condition or combination of conditions which the defendant can meet will

20 reasonably assure the appearance of the defendant as required and the safety of any other person

21 and the community.

22               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          Defendant who apparently is a citizen of Brazil claims he has legal status in the United



     DETENTION ORDER - 1
              Case 2:11-cr-00365-RSL        Document 78        Filed 12/16/11      Page 2 of 2




 1 States. The government proffered defendant has never had legal status and engaged in a sham

 2 marriage to avoid deportation. The government also proffered defendant was attempting to flee

 3 the jurisdiction at the time he was arrested.

 4          It is therefore ORDERED:

 5          (1)    Defendant shall be detained pending trial and committed to the custody of the

 6 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 7 from persons awaiting or serving sentences, or being held in custody pending appeal;

 8          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 9 counsel;

10          (3)    On order of a court of the United States or on request of an attorney for the

11 Government, the person in charge of the correctional facility in which Defendant is confined

12 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

13 connection with a court proceeding; and

14          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

15 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

16 Officer.

17       DATED this 16th day of December, 2011.

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                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
